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          Case 3:17-cv-00461-REP-RCY Document 176 Filed 09/06/18 Page 1 of 2 PageID# 4417
                                       IN THE UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF VIRGINIA

     APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                       CRIMINAL RULE 57.4
                  In Case Number _______________,
                                   3:17-cv-000461     Case Name ______________________________
                                                                     Williams, et al v. Big Picture Loans, LLC, et al
                  Party Represented by Applicant: ___________________________________________
                                                   Lula Williams, et al

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                     PERSONAL STATEMENT
                                   Matthew Wessler
FULL NAME (no initials, please) ____________________________________________________________________________
Bar Identification Number ________________
                           985241             State ________________
                                                     DC
Firm Name ______________________________________________________________________________________________
             Gupta Wessler PLLC
Firm Phone # ________________________
                202-888-1741               Direct Dial # __________________________
                                                         202-888-1741 ext. 102      FAX # ________________________
                                                                                           202-888-7792
E-Mail Address __________________________________________________________________________________________
                 matt@guptawessler.com
Office Mailing Address ____________________________________________________________________________________
                         1900 L Street NW, Suite 312, Washington DC 20036

Name(s) of federal court(s) in which I have been admitted _________________________________________________________
                                                          please see attached addendum

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am ____ am not ____ a full-time employee of the United States of America, and if so, request exemption from the admission fee.
                                                                               _______________________________________
                                                                                     (Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                   __________________________________________                  _____________
                                                                                                                  9/6/18
                                                   (Signature)                                                 (Date)
                                                   __________________________________________
                                                        Leonard A. Bennett                                     _____________
                                                                                                               37523
                                                           (Typed or Printed Name)                             (VA Bar Number)
Court Use Only:

Clerk’s Fee Paid ________ or Exemption Granted ________

The motion for admission is GRANTED ________ or DENIED ________



                         ________________________________________                            __________________________
                         (Judge’s Signature)                                                 (Date)
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                     ADDENDUM OF COURT ADMISSIONS
                         FOR MATTHEW WESSLER

    Name of Bar/Court                              Bar No.    Date         Status
                                                   (if any)   admitted

    District of Columbia Bar                       985241     12/8/2008    Active

    Massachusetts Bar                              664208     5/12/2006    Active

    District Court for the District of Columbia               04/04/2011   Active

    Supreme Court of the United States                        3/8/2010     Active

    U.S. Court of Appeals for the First Circuit    1172759    11/3/2015    Active

    U.S. Court of Appeals for the Second Circuit              10/10/2014   Active

    U.S. Court of Appeals for the Third Circuit               6/8/2006     Active

    U.S. Court of Appeals for the Fourth Circuit              5/8/2014     Active

    U.S. Court of Appeals for the Eighth Circuit              9/11/2015    Active

    U.S. Court of Appeals for the Ninth Circuit               12/4/2009    Active

    U.S. Court of Appeals for the Tenth Circuit               9/3/2014     Active
